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                                                    June 24, 2025
BY ECF

Honorable Harvey Bartle III, U.S.D.J.
United States District Court for the
Eastern District of Pennsylvania
16614 U.S. Courthouse
601 Market Street
Philadelphia, Pennsylvania 19106

Re:    Atlas Data Privacy Corp., et al v. JOY ROCKWELL ENTERPRISES, INC. et al (No.
       1:24-cv-04389-HB) – Docket Entry 56 – Order

Dear Judge Bartle:

        This firm represents the defendant Joy Rockwell Enterprises, Inc. (“Defendant”) in the
above-referenced matter. We respectfully request that Docket Entry 56, ORDER: Atlas shall
produce to defendants on or before July 16, 2025 the dates the takedown notices were sent to the
defendants as well as the "category" of covered person into which each assignor fits, be revised to
state that: Atlas shall produce to defendants on or before July 16, 2025 the dates the takedown
notices were “received by” defendants, rather than the date sent to defendants. I’ve spoken with
Plaintiffs’ Counsel, Rajiv D. Parikh, about this request. Plaintiffs consent with the caveat that they
intend to produce the date of delivery of the takedown notices.

       Thank you for your consideration.

                                                    Respectfully submitted,




                                                    KELLY PURCARO




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